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D A T A W A Y
Case Title: AT&T Corporation v. Dataway Inc.
Case Number: 3:07-cv-02440-Ml\/IC
Court: U.S. District Court, Califomia Northem District (San Francisco)

VERIFICATION

I, SIl\/ION LEWIS, agent for service of process for Defendant Datatway, Inc. in the above-entitled

matter, declare:
I have reviewed the foregoing MOTION TO VACATE and the facts related to therein are true of
my own knowledge, except as to the matters therein stated on information and belief, and as to those

matters, l believe them to be true.

l declare under penalty of perjury that the foregoing is true and correct.

Executed on August 15, 2007.

s1 oN LEWIs

Agent for Service of Process
For Defendant Datavvay, lnc

